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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

TIMOTHY ANDREW BALDWIN,                      :
    Petitioner,                              :
                                             :
                      v.                     :       CIVIL ACTION NO. 19-CV-2527
                                             :
THE ATTORNEY GENERAL, et al.,                :
     Respondents.                            :

                                             ORDER


       This 19th day of October, 2020, upon careful and independent consideration of the petition

for Writ of Habeas Corpus, together with the response thereto, and after review of the Report and

Recommendation of United States Magistrate Judge Linda K. Caracappa, IT IS ORDERED that:

             1.   The Report and Recommendation is APPROVED and ADOPTED.

             2.   The petition for Writ of Habeas Corpus is DISMISSED with prejudice.

             3.   There is no probable cause to issue a certificate of appealability.

             4.   The Clerk of the Court shall mark this case closed for statistical purposes.



                                                       /s/ Gerald Austin McHugh
                                                     United States District Judge
